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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                         Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant

                                      STATUS REPORT

       The United States of America, by and through the U.S. Attorney for the District of

Columbia, files this status report. On February 27, 2020, the Court ordered the parties to file a

joint proposed order setting forth the terms of the waiver of the attorney-client privilege and the

authorization of disclosure of information with respect to Mr. Flynn’s ineffective assistance of

counsel claims by no later than 12:00 PM on March 6, 2020. On March 6, the parties filed a Joint

Stipulation and submitted a joint proposed Order, consistent with the District of Columbia Rules

of Professional Conduct Rule 1.6, proposing that Covington and Burling, LLP (“Covington”) be

ordered to take all actions reasonably necessary to respond to defendant Flynn’s specific

allegations of ineffective assistance of counsel. The Court issued this Order on the afternoon of

March 6, 2020. On April 3, 2020, the Court ordered the government to provide a status report

informing the Court of the status of the production from Covington & Burling LLP or, if feasible,

proposing a briefing schedule, by no later than 12 p.m. on April 24, 2020.

       As required by the Court’s Order of March 6, Covington has provided to the government

five timely and substantial productions of documents “reasonably necessary” to respond to the

“specific allegations” made by the defendant in his motions to withdraw his plea. On April 23,

2020, Covington provided the government with signed declarations from four Covington

attorneys. The government promptly produced these declarations to defense counsel; in total, the
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declarations comprise more than 100 pages of text and more than 500 pages of partly-redacted

exhibits.1

        The declarations are detailed, and span numerous topics that arose during Covington’s 30-

month representation of Mr. Flynn. The government needs additional time to review these

declarations and to determine whether it needs to conduct any interviews of Covington personnel

or to seek additional declarations or supporting documents. Should any issues arise that the

government and Covington are unable to resolve, the government will file a motion with the Court,

along with any relevant declarations and exhibits, for resolution.

        In order to allow the government adequate time to review the declarations and exhibits that

have been produced by Covington and to conduct any additional inquiries, the government

respectfully asks this Court to allow the government two additional weeks to provide a further

status update and, if feasible, a proposed briefing schedule.

        Wherefore the government asks this Court to order it to provide a further status update and,

if feasible, a proposed briefing schedule, no later than 12 p.m. on May 8, 2020.

                                                      Respectfully submitted,

                                                      TIMOTHY J. SHEA
                                                      United States Attorney
                                                      D.C. Bar 437437

                                                      By: /s/ Jocelyn Ballantine
                                                      Jocelyn Ballantine
                                                      Assistant United States Attorney
                                                      555 4th Street NW
                                                      Washington, D.C. 20530

Dated: January 24, 2020


1
       The government anticipates that these declarations and exhibits will become part of the
record in this case in the course of the pending litigation. If the Court wishes to review these
materials in camera prior to any such filing, the government would promptly produce them upon
request.
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